Case 2:04-CV-02626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 1 of 13' Page|D 27

Fl|.ED BY ___ D_C_

:N 'rHE uNJ:Tr-:D sTATEs DISTRICT coURT

Fon THE wEsTERN r)Is'z'R:ccT oF TENNESSEE
wEsTERN DIVISION 05 AUG n PH 2' 35

rmm

CLERK US. DSSH?:GT OOURT

v-"'D "+‘;~; ila w
GREGQRY BR.AY, ' v »…»HP..SS

Plaintiff,
vs. No. 04-2626 MaP
GERALD STIPANU'K, ET AL.,

Defendants.

v`_¢`-I`.'\-d`-{\_I`.J`-Ivv

 

ORDER GRANTING IN PART AND DEN'YING IN PART
PLAINTIFF'S MOTION TO COMPEL DISCOVER'Y'

 

Before the Court is Plaintiff Gregory Bray’s Motion to Compel
Discovery, filed July 6, 2005 (dkt #51). Defendants Gerald
Stipanuk, Tony Cooper, and Lyle Reece filed their response on July
19, 2005. For the following reasons, the motion to compel is
GRANTED in part and DENIED in part.

I . BACKGROUND

Bray, pro se, filed a complaint pursuant to 42 U.S.C. § 1983
on August 9, 2004 in connection with his confinement at the Shelby
County Criminal Justice Center. The complaint asserts a number of
claims about Bray's experiences at the Justice Center. Several
claims and defendants have been dismissed by the Court, but claims
related to the center's officials failing to provide adequate

treatment for his back injury and urination problems are still

Ti".is document entered on the docket sheet in corn iiance
with Ru|e :>d and/or ?S(a) FHCP on __ . £_[£_Q£’

(V,Z,

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 2 of 13 Page|D 28

pending. Bray sent interrogatories and document requests to the
Defendants on March 28, 2005.
II . ANALYSIS

A party may propound interrogatories or document requests,
consistent with the scope of discovery permissible under Rule
26(b). Fed. R. Civ. P. 33(c); Fed. R. Civ. P. 34(a). Rule 26(b)
provides that “[p]arties may obtain discovery regarding any matter,
not privileged, that is relevant to the claim or defense of any
party . . . . Relevant information need not be admissible at the
trial if the discovery appears reasonably calculated to lead to the
discovery of admissible evidence.” Despite this liberal standard,
discovery is “not without limits.” Elvis Preslev Enter., Inc. v.
Elvisly Yoursl Inc., 936 F.2d 889, 893 (6th Cir. 1991). Parties
may object to discovery requests when

(i) the discovery sought is unreasonably cumulative or

duplicative, or is obtainable from some other source that

is more convenient, less burdensome, or less expensive;

(ii) the party seeking discovery has had ample

opportunity by discovery to obtain the information

sought; or (iii) the burden or expense of the proposed

discovery outweighs its likely benefit
Fed. R. Civ. P. 26(b)(2). Under Rule 33(b)(5) and 34(b), however,
the party' seeking discovery' mayr move for an order compelling
responses to interrogatories and document requests if the
responding party objects.

When the issue of relevance is challenged, the party seeking
discovery bears the burden of proving the requested materials and

information are relevant. ee Fed. R. Civ. P. 26{b)(1); Treace v.

_2_

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 3 of 13 Page|D 29

UNUM Life Ins. Co., 2004 WL 3142215, at *6 (W.D. Tenn. Aug. 10,
2004)(unpublished}; Medtronic Sofamor Danek. Inc. v. Michelson,
2003 WL 23407605 (W.D. Tenn. Dec. 02, 2003)(unpublished); Allen v.
§gwmedica Leibinger, th§, 190 F.R.D. 518 (W.D. Tenn. 1999). Once
the party seeking discovery has established its relevance, the
burden shifts to the opposing party to demonstrate why the
discovery should not be had. _§§ Fed. R. Civ. P. 26(b)(2); Cor v.
Aztec Steel Bldq.. Inc., 225 F.R.D. 667, 672 (D. Kan. 2005).

In his motion to compel, Bray seeks discovery to which
Defendants have objected. Although the motion does not specify the
specific interrogatories and document requests Bray maintains
should. be produced, Bray apparently identified each discovery
request that is at issue in a June 8, 2005 letter that he sent to
the Defendants. Presumably, those are the specific requests that
Bray currently seeks.

A. Interrogatories

Because many of the individual interrogatories to each
defendant overlap, the Court will discuss overlapping
interrogatories collectively.

Interrogatory No. 2 to Cooper and Reece

Interrogatory No. 2 requests Cooper and Reece to describe
training that each has received. In response, Defendants produced
a detailed resume, but also objected to the request as being overly
broad and unduly burdensome. The Court agrees with Defendants that
the request is overly broad. Only training relevant to the claims

_3_

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 4 of 13 Page|D 30

of this case would be discoverable. Moreover, the resumes provided
by Defendants include professional experience and education. This
Court finds the information provided by Defendant sufficiently
responds to the interrogatory, and thus, no further response is
necessary.

Interrogatory No. 5 to Cooper, Reece, and Dr. Stipanuk

Interrogatory' No. 5 seeks a ¢description. of “the complete
Circumstances surrounding all instances in which a Code White was
called for the Plaintiff.” A “code white” is a prison code that
notifies personnel of a n@dical emergency. After the code is
called, medical personnel respond to the location of the code
white. §§g Defendants Cooper and Reece‘s Responses to
Interrogatory No. 3. Cooper responded by stating that he is not
authorized to provide medical care and could not respond to the
interrogatory, but he referred Bray to his previously produced
medical records. Reece merely referred Bray to the medical
records. Dr. Stipanuk objected to the interrogatory, arguing that
it was overly broad and unduly burdensome, but he also referred
Bray to the medical records.

These answers are not responsive to the interrogatory.
Cooper's responses that he is not authorized to provide medical
care does not respond. to the interrogatory. Cooper' may' have
knowledge of circumstances surrounding a code white regardless of
whether he is authorized to provide medical care. In addition,
mere reference to the medical records is an insufficient response.

_4_

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 5 of 13 Page|D 31

§§§ Plunkett v. Nutt, No. 87~3282, 1988 WL 1167, at *1 (E.D. Pa.
Jan. 7, 1988)(unpublished). “Answers must be responsive, full,
complete and unevasive. Insofar as practical they should be
complete within themselves. Material outside the answers and their
addendun\ ordinarily should not be incorporated. by reference.”
Charles Alan Wright, et al., Federal Practice and Procedure § 2177
(2d ed. 1994)(quoting Pilling v. Gen. Motors Corp., 45 F.R.D. 366,
369 (D.C. Utah 1968)). Bray's medical records could contain
significant amounts of material beyond the scope of this
interrogatory, and therefore, a general reference to his medical
record is not proper without specifying pages or sections that are
responsive. Thus, the Court requires the Defendants to respond
with specificity to the interrogatory, and references to Bray's
medical records shall direct Bray to the appropriate pages in those
records.

Interrogatory Nbs. 6, 7, and 9 to Cboper, Reece, and Dr.
Stipanuk

Interrogatory No. 6 requests contact information for anyone
who has knowledge of all instances in which a code white was called
for the Plaintiff. Interrogatory No. 6 requests the Defendants to
identify any documents with information related to all instances in
which a code white was called for the Plaintiff. Interrogatory No.
9 seeks information on anyone who has made statements to each
defendant related to the allegations made in the complaint. All

three defendants objected to these interrogatories, arguing that

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 6 of 13 Page|D 32

they are overly broad and unduly burdensome. Nevertheless, they
referred Bray to his medical records.

As discussed above, mere reference to the medical records is
not specific, and therefore, unresponsive to Bray's
interrogatories. In addition, the Defendants have not provided the
Court with any basis to support their argument that the
interrogatories are overly broad or that it would be burdensome to
respond to it. Thus, they have not met their burden, §§g Qg;y, 225
F.R.D. at 672, and the Court will require the Defendants to respond
with specificity to these interrogatories. Because the Court has
dismissed certain claims, the Defendants may respond to
Interrogatory No. 9 with information related to statements made in
regards to the pending allegations, as opposed to all the
allegations in the original complaint.

Interrogatory No. 10 to Cooper, Reece, and Dr. Stipanuk

Interrogatory No. 10 requests the Defendants to state how'many
times each saw Bray in the medical department of the jail and to
describe the “outcome of each visit.” The Defendants all generally
objected to this interrogatory by arguing that it is overly broad
and unduly' burdensome, but each referred Bray to his medical
records. In addition, Cooper and Reece stated that they were not
medical providers and did not treat or provide any care to Bray.

Although the general objections and references to the medical
record suffer from the same deficiencies as the responses above,
Cooper and Reece state that they did not treat Bray. Therefore,

_6_

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 7 of 13 Page|D 33

they would not be able to respond to this interrogatory. The Court
orders only Dr. Stipanuk to respond to the interrogatory with
greater specificity, as discussed above.

Interrogatory Nbs. 11 and 12 to Dr. Stipanuk

Interrogatory No. 11 requests Dr. Stipanuk to state the number
of times Bray discussed his “broken back” with the doctor.
Interrogatory No. 12 seeks information related to the number of
times Bray voiced concerns about his CPAP and oxygen.machine to Dr.
Stipanuk. Dr. Stipanuk objected to this interrogatory by arguing
that it is overly broad and unduly burdensome, but referred Bray to
his medical records. For the same reasons set forth above. the
Court requires Dr. Stipanuk to respond with specificity to these
interrogatories.

Interrogatory No. 13 to Dr. Stipanuk

Interrogatory' No. 13 requests information on. whether Dr.
Stipanuk had his personal CPAP machine in the medical department
that he refused to let Bray use. Dr. Stipanuk responded that a
CPAP machine was not clinically indicated for Bray. This answer is
responsive to the interrogatory, and the Court will not order Dr.
Stipanuk to respond further to the interrogatory.
B. Document Reguests

Request for Production of Documents No. 1

Request No. 1 seeks “[a]ll documents that contain, mention,
construe, or refer to policies on the duties of the Defendant's
[sic].” Defendants object to the request, arguing it is overly

_'7_.

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 8 of 13 Page|D 34

broad, unduly burdensome, and not relevant.

As discussed above, the moving party bears the burden of
establishing relevance.` Courts generally give some leniency to pro
se litigants. §gg Estelle v. Gamble, 429 U.S. 97, 106 (1976);
United States v. Ninety Three Firearms, 330 F.3d 414, 427 (6th Cir.

2003); In re Unsolicited Letters to Federal Judges, 120 F.Supp.2d

1073, 1074 (S.D. Ga. 2000). Nevertheless, “this leniency does not
give a court license to serve as de facto counsel for a party.” §g§
Investments, Inc. v. Countv of Escambia, 132 F.3d 1359, 1369 (11th
Cir. 1998).

The Court acknowledges that there may be certain policies that
govern the Defendant's duties that would be relevant to the present
action; however, all policies would likely involve matters well
beyond the scope of this case. Because the Court does not know
Bray's intended scope, it denies the motion with respect to this
document request.

Request for Production of Documents Nbs. 2, 4, 11, 13, and 15

Defendants have responded to Request Nos. 2, 4, 11, 13, and 15
by stating that they do not have control or possession of documents
responsive to these requests. Federal Rule of Civil Procedure
34(a) states that a party may request documents “which are in the
possession, custody or control” of another party. Because
Defendants have stated that they do not control the documents
requested, the Court denies the motion with respect to these five

document requests.

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 9 of 13 Page|D 35

Request for Production of Documents Nos. 3, 6-10, 14, 18, and
19

Defendants responded to Request Nos. 3, 6-10, 14, 18, and 19
with an objection. based. on. breadth and burden of production.
Nevertheless, Defendants referred to and attached exhibits to their
responses. Although neither party attached these exhibits to the
motion or its response, it appears to the Court that Defendants
have responded to the document requests by providing these
documents. Therefore, the Court denies the motion to compel with
respect to these eight document requests.

Request for Production of Documents Nb. 5

Request No. 5 seeks “[a]ll documents that contain, mention,
construe, or refer to policies that Correctional Medical Services
gave to Shelby County in a bid for medical care for prisoner's
[sic] at the Shelby County Justice Center.” Defendants object to
this request on the grounds that it is overly broad, unduly
burdensome, and not relevant.

Shelby County contracts its medical services out to
Correctional Medical Services (“CMS”), and part of Bray's complaint
alleges that jail officials denied Bray's grievances on the ground
that the officials have no control Over CMS. (Order of Partial
Dismissal dated Dec. 30, 2004, at 6.) Nevertheless, policies that
CMS gave to the county in its bid would not necessarily govern its
current contractual relationship. Even if the Court were to

Construe the request as one for the policies governing the current

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 10 of 13 Page|D 36

contractual relationship between Shelby County and CMS, the bulk of
the documents would not likely be relevant to the claims and
defenses of this action. In addition, the Court cannot narrow this
request. Therefore, the Court denies Bray's motion pertaining to
this request.

Request for Production of Documents No. 12

Request No. 12 seeks “[a]ll documents that contain, mention,
construe, or refer to anything created by the Monitor's overseeing
the Medical Department.” Defendants object to this request,
arguing that it is overly broad, unduly burdensome. and not
relevant. It is unclear who or what Bray refers to when mentioning
the “Monitor.” The only reference to a monitor in the pleadings
comes from a grievance attached to Bray's complaint, which appears
to state, “Would like to see the Federal Monitor over the jail if
I can't see Dr. Stipanuk." (Complaint at 12.) This reference is
insufficient for the Court to understand what documents Bray is
seeking. Thereforey the motion is denied with respect to this
request.

Request for Production of Documents No. 17

Request No. 17 seeks “[a]ll documents that contain, mention,
construe, or refer to memo’s [sic] created by any staff member from
January 2004 to August 2004 concerning Plaintiff’s medical care or
when he asked the pod officer's [sic] for medical care and not
included in items 1 thru 16.” Defendants object to this request,

arguing that it is overly broad, unduly burdensome, and not

_10_

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 11 of 13 Page|D 37

relevant. They also refer Bray to his medical record.

Although this request is inartfully worded, Bray's intent is
clear. To the extent that there are any responsive documents that
were not produced pursuant to Request for Production Nos. 1-16,
Bray seeks any documents mentioning any memorandum regarding Bray's
medical care. which was written by jail staff members, and any
documents indicating Bray's requests for medical care to any pod
officer. In his complaint, Bray alleges that he was not provided
with proper medical treatment. Thus, memoranda related to his
medical care would be relevant to his claim. Similarly, any
documents indicating that he requested medical care would also be
relevant. Defendants have not demonstrated why the request is
overly broad or how it would be unduly burdensome to produce these
documents, if any exist. Therefore, Defendants are ordered to
produce documents responsive to this request. If no documents are
responsive or if all responsive documents were produced based on
Request Nos. 1-16, the Defendants shall respond accordingly to this
request.

Reguest for Production of Documents No. 20

Request No. 20 seeks “[a]ll documents that contain, mention,
construe, or refer to the duties and job description and medical
care for Prisoner’s [sic] that Correctional Medical Services give
to the Defendant's [sic].” Defendants object to this request,
arguing that it is overly broad and unduly burdensome. They also
refer Bray to the previous responses. Defendants appear to have

_11_

Case 2:04-CV-O2626-SH|\/|-tmp Document 62 Filed 08/11/05 Page 12 of 13 Page|D 38

responded to this request by producing documents related to the
positions of Medical Administrator, Nursing Director, Nurse
Practitioner, Chief Jailer, and Medical Director. Without a more
specific request, the Court finds that the Defendants have properly
responded to this request.
III. CONCLUSION

Accordingly, Bray's Motion to Compel Discovery is GRANTED in
part and DENIED in part. To the extent the Court has granted the
motion, Defendant shall respond to the specific discovery requests
within twenty (20) days from the date of this order.

IT IS SO ORDERED.

TU M. PHAM
United States Magistrate Judge

how 10 ',UJQ)/

Date U

_12_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CV-02626 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

ESSEE

 

Stephen G. Smith

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Debra L. FeSSenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Gregory Bray

NorthWeSt Correctional Complex
128878

960 State Route 212

Tiptonville7 TN 38079

.1 erry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

